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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ILLINOIS
                             EAST ST. LOUIS DIVISION

 JANIAH MONROE, MARILYN                             )
 MELENDEZ, LYDIA HELÉNA VISION,                     )
 SORA KUYKENDALL, and SASHA REED,                   )
 individually and on behalf of a class of           )
 similarly situated individuals,                    )
                                                    )
                                                        Case No. 3:18-cv-00156-NJR
                Plaintiffs,                         )
                                                    )
        v.                                          )
                                                    )
 ROB JEFFREYS, MELVIN HINTON,                       )
 and STEVEN BOWMAN,                                 )
                                                    )
                Defendants.                         )

             PLAINTIFFS’ PROPOSED AMENDMENTS TO MONITOR DUTIES

       On December 13, 2021, this Court gave notice of its intent to appoint a Special

Master/Monitor (“Monitor”) to:

       oversee Defendants’ compliance with the Court’s Preliminary Injunctions (Docs.
       212, 332, 336), implementation of the Illinois Department of Corrections’ April
       2021 revised Administrative Directives regarding transgender prisoners, and to
       assess and advise the Court and the parties whether further revisions of Illinois
       Department of Corrections (“IDOC”) policies and Administrative Directives are
       necessary in order to remedy the unconstitutional treatment of transgender
       prisoners in IDOC facilities.

ECF No. 370 at 1.

       The Court further provided that the parties shall submit any proposed modifications to the

duties of the Monitor set forth in the Order on of before January 3, 2022. Id. at 15-16. Plaintiffs

now submit four such proposed modifications.

       First, the Court’s Order provides that the Monitor will “will review IDOC’s records

relating to Plaintiff class members’ requests for transfer” to gender-aligned facilities and

“regarding Defendants’ continued implementation of the PRISM program.” Id. at 10, 11. Plaintiffs



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propose that the Monitor’s duties include advising the Court whether Defendants’ implementation

of transfers to gender-aligned facilities and its development of the PRISM program (which

involves, for example, transfer of transgender women to another IDOC male facility) are

successfully achieving the purposes of social transition treatment for gender dysphoria. See ECF

No. 212 at 2; ECF No. 331 at 2, 13. Such analysis might include, for example, determining whether

the treatment of transgender women at the Logan Correctional Center involves such a high degree

of separation from cisgender women as to fall short of a meaningful transfer to a women’s facility.

Relatedly, the Monitor’s reporting and facilitation duties, ECF No. 370 at 13-14, should expressly

include the assessment of the policies and procedures, whether written or unwritten, related to the

transfer and placement of transgender prisoners at gender-aligned facilities and to the

implementation of the PRISM program.

       Second, in order to discharge the duties assigned by this Court, Plaintiffs propose that the

Monitor be empowered, with notice to the parties, to consult with or contract with an additional

expert or experts and to seek compensation for any anticipated costs associated with the work of

such additional expert or experts to be paid at the same hourly rate as the Monitor as set forth in

the Order. Defendants appear to agree with this proposal. See ECF No. 375 at Section III.

       Third, Plaintiffs propose that the Monitor be permitted, with reasonable notice, to visit

IDOC facilities (as necessary) and request that counsel make prisoners, IDOC staff, or other

relevant parties available for interviews in the presence of counsel.

       Finally, Plaintiffs propose that the Monitor be permitted to request, with notice to the

parties, further modifications in their responsibilities, if they conclude during the course of their

appointment that such modifications are necessary to be able to carry out their assigned duties.




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Dated: January 3, 2022        Respectfully submitted by:

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                                CERTIFICATE OF SERVICE

       I certify that on January 3, 2022, I electronically filed the foregoing document and any

exhibits with the Clerk of this Court by using the CM/ECF system, which will accomplish

service through the Notice of Electronic Filing for parties and attorneys who are Filing Users.

                                         By: /s/ John A. Knight




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